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 2   DANIEL L. HARRALSON, BAR NO. 109322
     The Daniel Harralson Law Firm
 3   A Professional Corporation
     P.O. Box 26688-6688
 4
     Fresno, California 93729
 5   Telephone (559) 486-4560
     Facsimile (559) 486-4320
 6

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 8
                                UNITED STATES DISTRICT COURT
 9
                               EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                    ) Case No.: CR-F-05-00277 AWI
11                                                )
                        Plaintiff,                ) ORDER GRANTING MEDICAL
12          vs.                                   ) EVALUATION OF DEFENDANT
                                                  ) JOSEPH FORTT
13
     JOSEPH FORTT,                                )
14                                                )
                       Defendant.                 )
15                                                )

16          IT IS HEREBY ORDERED that on September 28, 2006, Defendant, Joseph Fortt, be

17   transported by the U.S. Marshall to University Medical Center (UMC) for a medical evaluation
18   by Naiel Nassar, M.D of the Special Services Division. The medical examination is scheduled
19
     to begin at 8:30 a.m.
20
            IT IS FURTHER ORDERED that medical personnel at the Fresno County Jail draw
21
     blood from Defendant and conduct a CD4 cell count and a HIV viral load test prior to his
22
     medical examination at UMC. The blood sample and results of the CD4 cell count and HIV
23
     viral load test shall accompany Defendant to his medical examination at UMC.
24
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 2   IT IS SO ORDERED.
 3   Dated:   September 19, 2006              /s/ Anthony W. Ishii
     0m8i78                             UNITED STATES DISTRICT JUDGE
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